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HUHJB¥___ D&L
IN THE UNITED STATES DISTRICT COURT

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UNITED sTATEs oF AMERICA, W.;:;,~M; \»;,.§W

Plaintiff,
v.
Case No. 2:05-cr-20205-1 Ml
CHRIS NEWTON and CHARLES LOVE,

Defandants.

 

ORDER GRANTING MOTION TO CONTINUE

 

Before the Court is Defendant J. Christopher Newtwon’s
Motion to Continue, filed July 8, 2005. Good cause having been
shown, and the United States having no objection, Defendant's
motion is GRANTED.

On June 22, 2005, Defendant in this cause was arraigned and
the United States Magistrate Judge entered an Order on
Arraignment requiring that all motions be filed within thirty
(30) days Of that date. The Court hereby extends the motion

deadline set by the magistrate judge's June 22, 2005, order until

August 23, 2005.

SO ORDERED this /“{day of July, 2005.

§/§ O§§

P. MCCALLA
UO ITED STATES DISTRICT JUDGE

 

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Honorable J on McCalla
US DISTRICT COURT

